
Compas Medical, P.C., as Assignee of Pierre Jean, Appellant, 
againstELRAC, Inc., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered November 19, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that the claims at issue had been timely denied based upon the failure of plaintiff's assignor and/or plaintiff to provide timely written notice of the accident at issue (see 11 NYCRR 65-2.4 [a], [b]). The Civil Court granted defendant's motion.
For the reasons stated in Compas Med., P.C., as Assignee of Daniel Joseph v ELRAC, Inc. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-2705 Q C], decided herewith), the order is affirmed. 
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 11, 2016










